Case 2:23-cr-00047-JLS Document 42 Filed 03/08/23 Page 1of3 Page ITA Tp

AO 436
(Rev. 04/13)

Reud Instructions.
Lt. NAME
Charles Koppelman
4, MAILING ADDRESS
2419 Jefferson Ave.
8. CASE NUMBER
2:23-cr-00047

12. PRESIDING JUDGE
Karen L. Stevenson

| 9, CASE NAME
USA v. Thomas V. Girardi

ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS
AUDIO RECORDING ORDER

243

Mac |

ERK, U.S. DISTRICT COURT

“2. PHONE NUMBER

CL.
B EMAIL ADT 4642

(510) 390-2747

kKOppetm @weit.com

5. CITY 6. STATE 7. ZIP CODE

Berkeley CA 94703
DATES OF PROCEEDINGS

10. FROM 2/6/2023 It. TO 2/6/2023

LOCATION OF PROCEEDINGS

13. CITY Los Angeles

14. STATECA

1$. ORDER FOR

LC) APPEAL DI CRIMINAL LJ] CRIMINAL JUSTICE ACT CL] BANKRUPTCY
[] NON-APPEAL LJ civit C] IN FORMA PAUPERIS CT OTHER spec)
16. AUDIO RECORDING REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which duplicate {eddedldddldialishipadtadsaitaiabaides
__ PORTION (S) of DATE(S) PORTION(S) _ PAID a
LI. “VOIR DIRE oO T i STIMONY Specify W Imes)
[1] OPENING STATEMENT (Plaintiff) BC
C] OPENING | s TA’ r E MENT (Defendant) . /
Cj cl LOSING ARGUME NT (Plaintiff) ! _ J PRE-TRIAL PROCEEDING (Specify) |
46 any ~ ees “| GEERK USS. DISTRICT COURT
[1 CLOSING ARGUMENT (Defendant - | LERK, U.S. DISTRICT COURT
L]_ ‘OPINION OF COURT - _
C] JURY INSTRUCTIONS | ®t OTHER (specifiy
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L] BAIL HEARING
| 17, ORDER
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Approved Mediu) _ : woe :
: ESTIMATE TOTAL | SL RO"

18. SIGNATURE
Charles Koppelman

CERTIFICATION (18. & 19.) By signing below,

[ certify that | will pay all charges (deposit plus additional) upon completion of the order.

19. DATE

2/10/2023

PROCESSED BY

ORDER RECEIVED ~

DATE. 7

PHONE NUMBER

DEPOSIT PAID

DEPOSIT PAID TOTAL CHARGES 0.00

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